                       UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                               WESTERN DIVISION
                                                                                     . ~ F: ~ \1 [)
                                                                                II !~i   07 201?
SIGNATURE DEVELOPMENT, LLC;
JEFF LAGE; and JENNIFER                               Civ. No. 11-50 19d[-P.;;.,-,Su~ Y ,jf     1~:-:;LI<J
                                                                               !' "(iN    I/Vl,l !)
LANDGUTH,

                       Plaintiffs,              DEFENDANT'S SECOND
                                            SUPPLEMENTAL RESPONSES TO
v.                                             PLAINTIFFS' SECOND SET
                                                  OF REQUESTS FOR
MID-CONTINENT CASUALTY                       PRODUCTION OF DOCUMENTS
COMPANY,

                      Defendant.

      Defendant Mid-Continent Casualty Company supplements its responses

 to Plaintiffs' Second Set of Requests for Production of Documents as follows:

                             GENERAL OBJECTIONS

      1. Defendant objects to Plaintiffs' discovery requests as they do not
describe with reasonable particularity each item or category of items to be
inspected pursuant to Fed.R.Civ.P. 34(b)(I)(A). Further, the request does not
appear to be reasonably tailored to secure documents relevant to issues in this
lawsuit.

       2. Defendant objects to Plaintiffs' discovery requests as Plaintiffs do not
"specify a reasonable time, place, and manner for the inspection" pursuant to
Fed.R.Civ.P.34(b)(I)(B).

       3. Defendant objects to Plaintiffs' definitions, instructions,
interrogatories and document requests as improper and unduly burdensome to
the extent they seek the disclosure of information and documents protected by
the attorney-client privilege, attorney work-product doctrine or any other
applicable privilege or doctrine. Such responses as may hereafter be given
shall not include any information protected by such privileges or doctrines, and
the inadvertent disclosure of such information shall not be deemed a waiver of
any such privilege or doctrine.




                                                                                   Ex. 5
      4. Defendant objects to Plaintiffs' discovery requests as overbroad,
unduly burdensome, not calculated to lead to the discovery of admissible
evidence, and not relevant to the allegations set forth in the Plaintiffs'
Complaint ("Complaint") to the extent that they seek information and
documents outside the scope of the Plaintiffs' insurance policy and claims file.


     RESPONSES TO REQUESTS FOR PRODUCTION OF DOCUMENTS


                 COMPANY GOALS AND INCENTIVE PLANS

REQUEST NO.7: Any and all documents that reference bonus or award
programs for which the personnel handling or reviewing claims are or
have been eligible in the past, from January 1, 2004, to the present. This
would include the claims handlers, supervisors, managers, or any other
individuals in the chain of command up to the head of Claims.

RESPONSE: Defendant maintains its previous response. Also, see
documents roduced and Bates stam ed as MCG0001251 - MCG0001263.

REQUEST NO.9: Any and all documents in use since January 1, 2004, to
present which relate to the manner in which claim personnel, including
supervisory personnel, might receive increases in salary, bonuses,
commissions or awards.

I RESPONSE:   See Response to Request No.7.

                               MISCELLANEOUS

REQUEST NO. 26: Any and all documents in the possession of Defendant
which:

      a.    Identify the software currently in use by the Defendant's claims
            handlers, as well as any software in use during the past 5 years.

      b.    Provide any documents relating to training or instructions with
            respect to search capabilities, information retrieval capabilities, or
            the capability of generating information reports, with respect to
            any of the software used by any of the Defendant's claims
            personnel in the past 5 years.

RESPONSE: Defendant maintains its previous response. Also, see
documents roduced and Bates stam ed as MCG0003592 - MCG0003599.




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                                                                              Ex. 5
                                PRIVILEGE LOG

REQUEST NO. 27: If, in responding to this request for production of
documents, you withhold production of any document on the ground of a
privilege not to disclose the document, please state with respect to each such
document:

   a. The type of document involved and a general description of the contents
      of the document;

   b. The name, business and residence addresses and telephone numbers,
      and position of the individual from whom the document emanated;

   c. The name, business and residence addresses and telephone numbers,
      and position of each individual to whom the document or a copy of the
      document was sent;

   d. The date of the document;

   e. The privilege upon which you rely in withholding the document;

   f. The facts upon which you rely in support of its claim that it is privileged
      to withhold the document;

   g. The names, business and residence addresses and telephone numbers,
      and positions or occupations of individuals known or believed by you to
      have knowledge concerning the factual basis for your assertion of
      privilege with regard to the document.

RESPONSE: Defendant maintains its previous response. Also, see the
attached Privile e Lo .

      Dated this 7th day of June, 2012.

                                      BANGS, MCCULLEN, BUTLER,
                                       FOYE & SIMMONS, LLP


                                      B~      Gregory J. Erlandson
                                              Sarah Baron Houy
                                              PO Box 2670
                                              Rapid City, SD 57709
                                              (605)343-1040
                                              gerlandson@bangsmccullen.com
                                              s baronhouy@bangsmccullen.com


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                                                                              Ex. 5
                        CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on June 7, 2012, he served a copy
of this legal document upon the person herein designated, all on the date below
shown, by first class mail to the address shown below:

                         Steven C. Beardsley, Esq.
                               Brad Lee, Esq.
                        Beardsley, Jensen & VonWald
                               P.O. Box 9579
                            4200 Beach Dr., Ste 3
                            Rapid City, SD 57709
                         SbeardS@blackhillslaw.com
                           Blee@blackhillslaw.com

                           ArrORNEYS FOR PLAINTIFFS


which e-mail address is the last address of the addressee known to the
subscriber.



                                    Sarah Baron Houy




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                                                                          Ex. 5
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Mid-Continent Casualty Company
                                                                                                             -

   Bates - Begin     Bates - End       Full Name                          Auth~r(sJ_                 . Recipient(s)    _PlJ'v'_iLege +
                                       01. Bad Faith Report, First' Jim Johnson                       PennekampL         Atty-Client and Atty Work
                                       Quarter 2004                                                                      Product

                                       02. Bad Faith Report,              Jim Johnson                 Lisa Pennekamp   , Atty-Client and Atty Work ,
                                       Second Quarter 2004                                                               Product

                                       03. Bad Faith Report,              Jim Johnson                 Lisa Pennekamp       Atty-Client and Atty Work
                                       Third Quarter 2004                                                                  Product
                                                                 --       ----~-----                                   ._,.   ---- -        ---


                                   ; 04. Bad Faith Report,                Jim Johnson                 Lisa Pennekamp       Atty-Client and Atty Work ,
                                     Fourth Quarter 2004                                                                   Product
                                   .05. Bad Faith Report, First Jim Johnson                           Lisa Pennekamp       Atty-Client and Atty Work ,
                                   , Quarter 2005                                                                          Product
                                       06. Bad Faith Report,          . Jim Johnson                   Lisa Pennekamp     AUy-Client and Atty Work
                                       Second Quarter 2005                                                             ' Product
                                                                            --   -   --   ---   --                                                               -   ----------


                                       07. Bad Faith Report,          . Jim Johnson                   Lisa Pennekamp     AUy-Client and Atty Work
                                       Third Quarter 2005                                                              , Product
                                                                                                                       •   •• _ _ 0 _ _ _ _ _ _ - - -   ___




                                   i   08. Bad Faith Report,          i   Jim Johnson                 Lisa Pennekamp   · Atty-Client and Atty Work
                                       Fourth Quarter 2005                                                               Product
                                       09. Bad Faith Report, First, Jim Johnson                       Lisa Pennekamp       Atty-Client and Atty Work
                                       Quarter 2006                                                                        Product
                                                                                                                       -------._--


                                       10. Bad Faith Report,          : Jim Johnson                   Lisa Pennekamp       Atty-Client and Atty Work
                                       Second Quarter 2006                                                                 Product
                                       11. Bad Faith Report,          : Jim Johnson                   Lisa Pennekamp   • AUy-Client and Atty Work
                                       Third Quarter 2006                                                                Product
                                       12. Bad Faith Report,              Jim Johnson                 Lisa Pennekamp       Atty-Client and Atty Work
                                       Fourth Quarter 2006                                                                 Product

                                       13. Bad Faith Report, First Jim Johnson                        Lisa Pennekamp       Atty-Client and Atty Work
                                       Quarter 2007                                                                        Product
                                       14. Bad Faith Report,              Timothy Clancy              Lisa Pennekamp       Atty-Client and Atty Work
                                       Second Quarter 2007                                                                 Product
                                       15 Bad Faith Report,               Timothy Clancy              Lisa Pennekamp       Atty-Client and Atty Work

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Mid-Continent Casualty Company
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       I **              **                                                                   **
                                       Third Quarter 2007                                                          Product
                                       16. Bad Faith Report,       Timothy Clancy             Lisa Pennekamp       Atty-Client and Atty Work .
                                       Fourth Quarter 2007                                                         Product                   .
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                                       17. Bad Faith Report, First Timothy Clancy             Lisa Pennekamp       Atty-Client and Atty Work
                                       Quarter 2008                                                                Product

                                       18. Bad Faith Report, First i Timothy Clancy           Lisa Pennekamp        Atty-Client and Atty Work
                                       Quarter 2008                i                                              · Product                   .
                                       19. Bad Faith Report,       Timothy Clancy             Lisa Pennekamp        Atty-Client and Atty Work .
                                       Second Quarter 2008                                                        · Product
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                                       20. Bad Faith Report,       Timothy Clancy         . Lisa Pennekamp        · Atty-Client and Atty Work :
                                       Third Quarter 2008                                                           Product                   '
                                       21. Bad Faith Report,       Timothy Clancy             Lisa Pennekamp      · Atty-Client and Atty Work         1


                                       Fourth Quarter 2008                                                          Product
                                       22. Bad Faith Report, First! Timothy Clancy            Lisa Pennekamp       Atty-Client and Atty Work
                                       Quarter 2009                                                                Product
                                       23. Bad Faith Report,      . Timothy Clancy            Lisa Pennekamp       Atty-Client and Atty Work .
                                       Second Quarter 2009                                                         Product
                                       24. Bad Faith Report,       Timothy Clancy             Lisa Pennekamp       Atty-Client and Atty Work
                                       Third Quarter 2009                                                          Product
                                                                                                                                                 __ J

                                       25. Bad Faith Report,       Timothy Clancy         . Lisa Pennekamp          Atty-Client and Atty Work
                                       Fourth Quarter 2009                                                        · Product
                                       26 Bad Faith Report, First Timothy Clancy              Lisa Pennekamp       Atty-Client and Atty Work
                                       Quarter 2010               .                                                Product
                                       27 Bad Faith Report,        Frank Pope                 Lisa Pennekamp       Atty-Client and Atty Work
                                       Second Quarter 2010                                                         Product
                                       28 Bad Faith Report,       . Frank Pope                Lisa Pennekamp       Atty-Client and Atty Work
                                       Third Quarter 2010                                                          Product
                                       29 Bad Faith Report,        Frank Pope                 Lisa Pennekamp       Atty-Client and Atty Work
                                       Fourth Quarter 2010                                                         Product

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Mid-Continent Casualty Company

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                                             30. Bad Faith Report, First Frank Pope                                                      Lisa Pennekamp                     : Atty-Client and Atty Work
                                             Quarter 2011                                                                                                                   · Product
                                             31. Bad Faith Report,                                           Frank Pope                  Lisa Pennekamp                   : Atty-Client and Atty Work
                                             Second Quarter 2011                                                                                                          ; Product

                                             32. Bad Faith Report,                                           Frank Pope                  Lisa Pennekamp                   • Atty-Client and Atty Work
                                             Third Quarter 2011                                                                                                           I Product
                                    -------.---- ----   ---                                                                                                      ...   -----r-.-~---.--        .
                                             33. Bad Faith Report,                                           Frank Pope                  Lisa Pennekamp                   · Atty-Client and Atty Work
                                             Fourth Quarter 2011                                                                                                          • Product
                                                              -~   -   -------       -     -                      - --   -------
                                                                                                                                                             ··-·~t----·           . . . --.
                                         . 34. Bad Faith Report, First Frank Pope                                                        Lisa Pennekamp                   i   Atty-Client and Atty Work
                                         . Quarter 2012                                                                                                                   I   Product
                                                                                 -       - -- -- - - -....   --


   LJ0003            LJ0004                  Email re status of case                                     • Craig Pfeifle; Robert         Craig Pfeifle; Robert            i Atty-Client
                                                                                                         • Pileggi                       Pileggi

  . LJ0005           LJ0005                  Internal note re status of                                      "R"                        • Craig Pfeifle                       Atty Work Product
                                             document
   LJ0082            LJ0082              I   Copy of docket with                                         · Craig Pfeifle                 N/A                              I   Atty Work Product
                                         i   handwritten notes

   LJ0543            LJ0560                  Correspondence file with                                    · Craig Pfeifle; Robert     Caroline Goodspeed;                  • Atty-Client and
                                             Expert Anderson                                               Anderson; Jo Kortemeyer . Craig Pfeifle; Billye                • Atty-Expert
                                                                                                                                     Davidson; Robert
                                                                                                                                     Anderson

   LJ0631            LJ0632              ; Lynn Jackson Open and .                                            Lynn Jackson                                                I   Atty Work Product
                                           Closing Information Sheet

   LJ0633            LJ0640                  Lynn Jackson Matter                                              Lynn Jackson                                                    Atty-Client and Atty Work
                                             Ledger Report                                                                                                                    Product

   LJ0641            LJ0643                  Email regarding status                                           Craig Pfeifle              Robert Pileggi                       Atty-Client

    LJ0644           LJ0644                  Letter regarding                                                 Greg Erlandson             Craig Pfeifle                        Trial PreplWork Product
                                             representation
    LJ0645           LJ0645                  Letter re status of matter                                       Craig Pfeifle              Caroline Goodspeed                   Atty-Client
    LJ0648           LJ0648                  Email string re status and                                       Craig Pfeifle; Caroline    Caroline Goodspeed;                  Atty-Client

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Mid-Continent Casualty Company

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    **                       i   **                              . going forward                               Goodspeed                                                     Craig Pfeifle                                  **
                                                                                                                                                                                                                                                   ---------


    LJ0658                       LJ0659                            Email string with Pfeifle                     Mike Sabers                                                 Craig Pfeifle                                  Atty Work Product
                                                                   handwriting and notes
                                                                                                             ---------         ---------         -                                                                               -----_   ...   _----


    LJ0660                       LJ0663                            Email string re status and · Craig Pfeifle; Caroline                                                      Craig Pfeifle; Caroline                        Atty-Client and Atty Work
                                                                   going forward                Goodspeed; Keith Nye                                                         Goodspeed; Keith Nye                           Product
                                      "--   --"-"- .-_._.---                                                     ----     - - _. .                                             - - - - - -----       ~                                   ------~--




   . LJ0668                      LJ0679                            Email string re case                          Craig Pfeifle; Caroline                                     Craig Pfeifle; Caroline                        Atty-Client and Atty Work
                                                                   direction                                     Goodspeed; Rhonda                                           Goodspeed; Rhonda                              Product
                                                                                                             • Rylance                                                       Rylance
                         - .. t---- ---------------                                                          + _ •. - - - - - ..          -----------        --   -------                        -       ------------


    LJ0680                   i   LJ0687                            Email string re case                      • Craig Pfeifle; Caroline                                       Craig Pfeifle; Caroline                          Atty-Client and Atty Work •
                                                                   direction                                   Goodspeed; Rhonda                                             Goodspeed; Rhonda                              . Product
                                                                                                               Rylance                                                       Rylance
~-----   -                                                                        - - - - - - - _. .    -.   ------~----




   , LJ0688                      LJ0703                            Email string re case                        Craig Pfeifle; Caroline                                       Craig Pfeifle; Caroline                        Atty-Client and Atty Work
                                                                   direction                                   Goodspeed; Robert                                             Goodspeed; Robert                              Product
                                                                                                             , Pileggi                                                       Pileggi
                                                                                                       -----------        --    -
    LJ0715                       LJ0715                            Letter re expert bill with                · Robert Anderson                                               Craig Pfeifle                                  Atty-Client and
                                                                 . attorney mark-ups                                                                                                                                        Atty-Expert
                                                                                                                        -- - - - - - - - - - - - - - -   -                            --   ------


    LJ0720                       LJ0721                            Letter re status                              Craig Pfeifle                                               Caroline Goodspeed                             Atty-Client
                            --"----_.------_._.-----           ---+------------



    LJ0726                   . LJ0727                              Email string re folow up                      Craig Pfeifle; Caroline                                     Caroline Goodspeed;                            Atty-Client
                                                                                                                 Goodspeed                                                   Craig Pfeifle
                                                                                                                  ---- - - - - - - -                                                       - --------------             -          --   ---.    ---"---   -   -
    LJ0728                       LJ0728                            Letter re status                              Craig Pfeifle                                               Caroline Goodspeed                             Atty-Client
    LJ0737                       LJ0737                            Letter re status                              Craig Pfeifle                                               Caroline Goodspeed                             Atty-Client
    LJ0738                       LJ0738                            Email wI attached                             Jo Kortemeyer                                               Caroline Goodspeed                             Atty-Client
                                                                   documents

    LJ0743                       LJ0746                            Email string re status                        Craig Pfeifle; Caroline                                     Craig Pfeifle; Caroline                        Atty-Client
                                                                                                                 Goodspeed                                                   Goodspeed
    LJ0756                       LJ0763                            Fax wI attached                               Caroline Goodspeed                                          Craig Pfeifle                                   Trial Prep/Work Product
                                                                   documents
    LJ0766                       LJ0766                             File note with to do items                   Craig Pfeifle                                                                                               Atty Work Product


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Mid-Continent Casualty Company

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                                                                                 Full Name
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                                                                                                                                                 Author(s)                     Recipient( s)                                     lpriyilege +
            LJ0769                               LJ0770                          Letter re discovery                                             Craig Pfeifle                 Caroline Goodspeed                                • Atty-Client

            LJ0783                               LJ0784                          Email string re status                                          Craig Pfeifle                 Caroline Goodspeed                                !   Atty-Client
                                                                                                      -    ------_.      -   -                                                                 - -- --- -----------r---- -- --
            LJ0798                               LJ0798                          Letter re document                                              Craig Pfeifle                 Caroline Goodspeed                                • Atty-Client
                                                                                 request
                                                                                                          - - - - - ----------                                                                                  ~--~   ---   -       -------



            LJ0803                               LJ0803                          Fax cover with documents Caroline Goodspeed                                                   Craig Pfeifle                                     • Atty-Client and Atty Work
                                                                                 and attorney notes                                                                                                                              ! Product
_.                           --   -    --   ,-   ----   --------.                                    ------+--- - - - -                                                                             -   ------------,---              ---
!
        . LJ0804                                , LJ0804                       Letter re lawsuit with     '. Merle Scheiber                                                    . Legal Dept at                                   !   Atty Work Product
                                                                             . handwritten attorney notes                                                                        Mid-Continent Casualty   I
                                                                                    .       --------~-----,------.----                       ,--            -- -   --                           - --------t----.. ---- ----- ---.. --- I
            LJ0805                               LJ0806                          Handwritten sticky notes                                        Craig Pfeifle; Rhonda                                                           • Atty Work Product                   I


                                                                                 and notes                                                   !   Rylance
     ---     ----------           .   -----'        ---.-.~-                                         ,,------~---                ----              ----   -_ ..     ---   --



            LJ0807                               LJ0814                          Internal Email and draft                                    . Craig Pfeifle                   Rhonda Rylance                                    i Atty Work Product
                                                                                 release with handwritten
                                                                                 attorney notes
~--    "1                                                                                   ---------



            LJ0815                               LJ0815                          Internal Email                                                  Craig Pfeifle                  Rhonda Rylance                                       Atty Work Product
-    ---~    -    ---



            LJ0816                               LJ0891                          Draft Discovery                                                 Craig Pfeifle                                                                   · Atty Work Product
                                                                             I   Responses
                                            -    .----         ---"._-                      ------   ---                                                                                                ---   -------                                     --   ---.-

            LJ0892                               LJ0892                      ' Lynn Jackson internal                                                                                                                             I   Atty Work Product
                                                                               appoitnment Slip
       -+    --   •• - - -                                 ._--     ._----                                                                                                                                      -----------


        !   LJ0895                              • LJ0895                         Letter re discovery with                                    . Craig Pfeifle; Jerry                                                              I   Atty Work Product
                                                                                 hand-written attorney                                         Johnson
                                                                                 notes

            LJ0913                               LJ0914                          Draft discovery responses                                       Craig Pfeifle                                                                       Atty Work Product

            LJ0949                                LJ0950                         Internal Memo                                                   Craig Pfeifle                  File                                                 Atty Work Product

            LJ0951                                LJ0951                         Handwritten notes to file                                       Craig Pfeifle                                                                       Atty Work Product

            LJ0954                                LJ0959                         Internal Emails and                                             Craig Pfeifle                  Rhonda Rylance                                       Atty-Client and Atty Work
                                                                                 information for file                                                                                                                                Product

            LJ0960                                LJ0961                         Email re meeting                                                Craig Pfeifle                  Robert Pileggi                                       Atty-Client

            LJ0962                                LJ0963                         Draft Pleading (Order)                                          Craig Pfeifle                                                                       Atty Work Product

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Mid-Continent Casualty Company

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             **                                    • with changes and                **                            **
                                                   · handwriting
         i   LJ0964           LJ0964                I nternal note                   Craig Pfeifle                                                Atty Work Product
             LJ0965           LJ0966                Internal emails                  Craig Pfeifle                 Rhonda Rylance                 Atty Work Product
             LJ0967           LJ0983                Letter w. attached draft     .• Caroline Goodspeed            · Craig Pfeifle                 Atty-Client and Atty Work
                                                    discovery                                                                                     Product
         , LJ0984             LJ0986               · Internal emails                 Craig Pfeifle                · Rhonda Rylance           . Atty Work Product
                                            .---   -l-~.-.                                                                                   -r _ _ _ _ _ _ _ _ _ _




             LJ0987           LJ0994               • Draft Discovery                 Craig Pfeifle                                                Atty Work Product
                                                   I Responses with
                                                   · handwritten notes
             LJ0995           LJ0996               : Email string re status          Craig Pfeifle               : Caroline Goodspeed             Atty-Client
, ___ ----l-__
                                                                                                                 ---~--.    --------
         • LJ0997             LJ0999               • Email re draft discovery        Robert Pileggi               : Craig Pfeifle                 Atty-Client and Atty Work
                                                                                                                                                  Product
                                                                                                                                                  -------
             LJ1008           LJ1010               · Handwritten notes to file   : Craig Pfeifle                                             . Atty Work Product
         .LJ1011              LJ 1 011              Internal email               I   Craig Pfeifle                                                Atty Work Product
             LJ1012           LJ1014               · Internal Memo               : Craig Pfeifle                   File                           Atty Work Product
         . LJ1015             LJ1016                Internal email               , Craig Pfeifle                   Rhonda Rylance            i.   Atty Work Product
                                                                                                                  - - - - ----
         , LJ1017             LJ1020               · Email string re status      • Caroline Goodspeed;           · Craig Pfeifle; Caroline        Atty-Client and Atty Work
                                                                                 : Craig Pfeifle                 : Goodspeed                      Product
             LJ1021           LJ1021                Draft correspondence             Craig Pfeifle                                                Atty Work Product
                                                    never sent

             LJ1022           LJ1023                Internal email                   Craig Pfeifle                 Rhonda Rylance                 Atty Work Product
             LJ1026           LJ1027                Email re status                  Craig Pfeifle; Caroline       Caroline Goodspeed;            Atty-Client and Atty Work
                                                                                     Goodspeed                     Craig Pfeifle                  Product
             LJ1028           LJ 1029               Client email                     Craig Pfeifle; Caroline       Caroline Goodspeed;            Atty-Client and Atty Work
                                                                                     Goodspeed                     Craig Pfeifle                  Product
             LJ1030           LJ1033                Complaint with notes and                                                                      Atty Work Product

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Mid-Continent Casualty Company
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                                                                     Auth()r(s)           .. Recipient(s) .                 Privilege +
                           **            markups                     **

   LJ1034                  LJ1039        Conflict check, open file                                                          Atty Work Product
                                         sheet, file opening
                                         instructions

   LJ1063                  LJ1064        Handwritten notes           Craig Pfeifle                                          Atty Work Product

   LJ1065              . LJ1065          Fax Letter                  Caroline Goodspeed     Craig Pfeifle                   Atty-Client
   LJ1118              I   LJ1118        Note to file                                                                       Atty Work Product
                                                                                                                                ----------   -~-




   LJ1172                  LJ1172        Client letter               Caroline Goodspeed     Craig Pfeifle                   Atty-Client
                                                                                                                                          ---- -_ .. _ - - - - - -
   LJ1173                  LJ1174        Draft discovery responses   Craig Pfeifle                                          Atty-Client and Atty Work
                                                                                                                            Product
                                                                                          - ---   ,--   --~   _.   -----.               .-----------




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